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EXHIBIT A

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HOME OFFICE - P & C UNDERWRITING
2108 EAST SOUTH BOULEVARD
MONTGOMERY, ALABAMA 36116

October 7, 2022

This is to certify that the attached is a true and correct copy of Policy Number
19001699759 issued to Kingdom Builders Covenant Church Inc a Church Policy in force
on August 19, 2022.

Sincerely,

Cynthia Strickland, CPCU
Manager, Commercial Underwriting

ALFA MUTUAL INSURANCE COMPANY ™ ALFA MUTUAL FIRE INSURANCE COMPANY ™@ ALFA MUTUAL GENERAL INSURANCE COMPANY
ALFA LIFE INSURANCE CORPORATION M@ ALFA INSURANCE CORPORATION
ALFA GENERAL INSURANCE CORPORATION @ ALFA FINANCIAL CORPORATION
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BUSINESSOWNERS
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BUSINESSOWNERS COVERAGE FORM INDEX

This index is provided only as a convenience. It should not be assumed to provide a reference to every provision
that can affect a question, claim or coverage. To determine the full scope of coverage and pertinent restrictions
and exclusions, the policy (including endorsements) must be read in its entirety. The features may also be
affected by related provisions not referenced at all in the index, or noted elsewhere in it. For instance, an
Exclusion feature addresses a specific policy exclusion; but restrictions of coverage and exclusions also appear
within the areas where coverage, covered causes of loss, etc., are described.

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(5) Exterior building glass, if you are a
tenant and no Limit Of Insurance is
shown in the Declarations for Building
property. The glass must be owned by
you or in your care, custody or control.

2. Property Not Covered
Covered Property does not include:
a. Aircraft, automobiles, motortrucks and other

vehicles subject to motor vehicle
registration;

"Money" or "securities" except as provided
in the:

(1) Money And_ Securities Optional
Coverage; or

(2) Employee Dishonesty Optional
Coverage;

c. Contraband, or property in the course of

d.

illegal transportation or trade;

Land (including land on which the property
is located), water, growing crops or lawns
(other than lawns which are part of a
vegetated roof);

Outdoor fences, radio or television
antennas (including satellite dishes) and
their lead-in wiring, masts or towers, signs
(other than signs attached to buildings),
trees, shrubs or plants (other than trees,
shrubs or plants which are part of a
vegetated roof), all except as provided in
the:

(1) Outdoor Property Coverage Extension;
or

(2) Outdoor Signs Optional Coverage;

f. Watercraft (including motors, equipment

Page 2 of 53

and accessories) while afloat;

Accounts, bills, food stamps, other
evidences of debt, accounts receivable or
"valuable papers and records"; except as
otherwise provided in this policy;

"Computer(s)". which are permanently
installed or designed to be permanently
installed in any _ aircraft, watercraft,
motortruck or other vehicle subject to motor
vehicle registration. This paragraph does
not apply to "computer(s)" while held as
"stock";

i. "Electronic data", except as provided under
Additional Coverages — Electronic Data.
This Paragraph i. does not apply to your
"stock" of prepackaged software or to
“electronic data" which is integrated in and
operates or controls the building's elevator,
lighting, heating, ventilation, air conditioning
or security system; or

j. Animals, unless owned by others and
boarded by you, or if owned by you, only as
"stock" while inside of buildings.

3. Covered Causes Of Loss

Direct physical loss unless the loss is excluded
or limited under Section | — Property.

4. Limitations
a. We will not pay for loss of or damage to:

(1) Steam boilers, steam pipes, steam
engines or steam turbines caused by or
resulting from any condition or event
inside such equipment. But we will pay
for loss of or damage to such equipment
caused by or resulting from an explosion
of gases or fuel within the furnace of any
fired vessel or within the flues or
passages through which the gases of
combustion pass.

(2) Hot water boilers or other water heating
equipment caused by or resulting from
any condition or event inside such
boilers or equipment, other than an
explosion.

(3) Property that is missing, where the only
evidence of the loss or damage is a
shortage disclosed on taking inventory,
or other instances where there is no
physical evidence to show’ what
happened to the property. This limitation
does not apply to the Optional Coverage
for Money and Securities.

(4) Property that has been transferred to a
person or to a place outside the
described premises on the basis of
unauthorized instructions.

(5) The interior of any building or structure,
or to personal property in the building or
structure, caused by or resulting from
rain, snow, sleet, ice, sand or dust,
whether driven by wind or not, unless:

(a) The building or structure first
sustains damage by a Covered
Cause of Loss to its roof or walls
through which the rain, snow, sleet,
ice, sand or dust enters; or

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(b) Subject to Paragraph (3)(a) above,
the amount we will pay for debris
removal expense is limited to 25% of
the sum of the deductible plus the
amount that we pay for direct
physical loss or damage to the
Covered Property that has sustained
loss or damage. However, if no
Covered Property has_ sustained
direct physical loss or damage, the
most we will pay for removal of
debris of other property (if such
removal is covered under this
Additional Coverage) is $5,000 at
each location.

(4) We will pay up to an additional $25,000

(5)

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for debris removal expense, for each
location, in any one occurrence of
physical loss or damage to Covered
Property, if one or both of the following
circumstances apply:

(a) The total of the actual debris removal
expense plus the amount we pay for
direct physical loss or damage
exceeds the Limit of Insurance on
the Covered Property that has
sustained loss or damage.

(b) The actual debris removal expense
exceeds 25% of the sum of the
deductible plus the amount that we
pay for direct physical loss or
damage to the Covered Property that
has sustained loss or damage.

Therefore, if Paragraphs (4)(a) and/or
(4)(b) apply, our total payment for direct
physical loss or damage and debris
removal expense may reach but will
never exceed the Limit of Insurance on
the Covered Property that has sustained
loss or damage, plus $25,000.

Examples
Example 1
Limit of Insurance $ 90,000
Amount of Deductible $ 500
Amount of Loss $ 50,000

Amount of Loss Payable $ 49,500
($50,000 — $500)

Debris Removal Expense $ 10,000

Debris Removal Expense

Payable $ 10,000

($10,000 is 20% of $50,000)

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The debris removal expense is less than
25% of the sum of the loss payable plus
the deductible. The sum of the loss
payable and the debris removal expense
($49,500 + $10,000 = $59,500) is less
than the Limit of Insurance. Therefore,
the full amount of debris removal
expense is payable in accordance with
the terms of Paragraph (3).

Example 2

Limit of Insurance $ 90,000
Amount of Deductible $ 500
Amount of Loss $ 80,000

Amount of Loss Payable $ 79,500
($80,000 — $500)
Debris Removal Expense $ 40,000
Debris Removal Expense
Payable
Basic Amount $ 10,500
Additional Amount $ 25,000

The basic amount payable for debris
removal expense under the terms of
Paragraph (3) is calculated as follows:
$80,000 ($79,500 + $500) x .25 =
$20,000; capped at $10,500. The cap
applies because the sum of the loss
payable ($79,500) and the basic amount
payable for debris removal expense
($10,500) cannot exceed the Limit of
Insurance ($90,000).

The additional amount payable for
debris removal expense is provided in
accordance with the terms of Paragraph
(4), because the debris removal
expense ($40,000) exceeds 25% of the
loss payable plus the deductible
($40,000 is 50% of $80,000), and
because the sum of the loss payable
and debris removal expense ($79,500 +
$40,000 = $119,500) would exceed the
Limit of Insurance ($90,000). The
additional amount of covered debris
removal expense is $25,000, the
maximum payable under Paragraph (4).
Thus, the total payable for debris
removal expense in this example is
$35,500; $4,500 of the debris removal
expense is not covered.

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(5)

(6)

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(8)

if an abrupt collapse is caused by a
cause of loss listed in Paragraphs (2)(a)
through (2)(d), we will pay for loss or
damage to that property only if such loss
or damage is a direct result of the abrupt
collapse of a building insured under this
policy and the property is Covered
Property under this policy.

If personal property abruptly falls down
or caves in and such collapse is not the
result of abrupt collapse of a building,
we will pay for loss or damage to
Covered Property caused by such
collapse of personal property only if:

(a) The collapse of personal property
was caused by a cause of loss listed
in Paragraphs (2)(a) through (2)(d)
of this Additional Coverage;

(b) The personal property which
collapses is inside a building; and

(c) The property which collapses is not
of a kind listed in Paragraph (4),
regardless of whether that kind of
property is considered to be personal
property or real property.

The coverage stated in this Paragraph
(5) does not apply to personal property if
marring and/or scratching is the only
damage to that personal property
caused by the collapse.

This Additional Coverage — Collapse
does not apply to personal property that
has not abruptly fallen down or caved in,
even if the personal property shows
evidence of cracking, bulging, sagging,
bending, leaning, settling, shrinkage or
expansion.

This Additional Coverage — Collapse will
not increase the Limits of Insurance
provided in this policy.

The term Covered Cause of Loss
includes the Additional Coverage —
Collapse as described and limited in
Paragraphs d.(1) through d.(7).

e. Water Damage, Other Liquids, Powder

Or Molten Material Damage

If

loss or damage caused by or resulting

from covered water or other liquid, powder
or molten material occurs, we will also pay
the cost to tear out and replace any part of
the building or structure to repair damage to
the system or appliance from which the
water or other substance escapes.

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We will not pay the cost to repair any defect
that caused the loss or damage, but we will
pay the cost to repair or replace damaged
parts of fire extinguishing equipment if the
damage:

(1) Results in discharge of any substance
from an automatic fire protection
system; or

(2) Is directly caused by freezing.
f. Business Income
(1) Business Income

(a) We will pay for the actual loss of
Business Income you sustain due to
the necessary suspension of your
"operations" during the "period of
restoration". The suspension must
be caused by direct physical loss of
or damage to property at the
described premises. The loss or
damage must be caused by or result
from a Covered Cause of Loss. With
respect to loss of or damage to
personal property in the open or
personal property in a vehicle, the
described premises include the area
within 100 feet of such premises.

With respect to the requirements set
forth in the preceding paragraph, if
you occupy only part of a building,
your premises mean:

(i) The portion of the building which
you rent, lease or occupy;

(ii) The area within 100 feet of the
building or within 100 feet of the
premises described in the
Declarations, whichever distance
is greater (with respect to loss of
or damage to personal property
in the open or personal property
in a vehicle); and

(iii) Any area within the building or at
the described premises, if that
area services, or is used to gain
access to, the portion of the
building which you rent, lease or
occupy.

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g. Extra Expense

(1) We will pay necessary Extra Expense
you incur during the "period of
restoration" that you would not have
incurred if there had been no direct
physical loss or damage to property at
the described premises. The loss or
damage must be caused by or result
from a Covered Cause of Loss. With
respect to loss of or damage to personal
property in the open or personal
property in a vehicle, the described
premises include the area within 100
feet of such premises.

With respect to the requirements set
forth in the preceding paragraph, if you
occupy only part of a building, your
premises mean:

(a) The portion of the building which you
rent, lease or occupy;

(b) The area within 100 feet of the
building or within 100 feet of the
premises described in the
Declarations, whichever distance is
greater (with respect to loss of or
damage to personal property in the
open or personal property in a
vehicle); and

(c) Any area within the building or at the
described premises, if that area
services, or is used to gain access
to, the portion of the building which
you rent, lease or occupy.

(2) Extra Expense means expense
incurred:

(a) To avoid or minimize the suspension
of business and to continue
"operations":

(i) At the described premises; or

(ii) At replacement premises or at
temporary locations, including
relocation expenses, and costs to
equip and operate the
replacement or temporary
locations.

(b) To minimize the suspension of
business if you cannot continue
"operations".

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(c) To:
(i) Repair or replace any property; or

(ii) Research, replace or restore the
lost information on damaged
"valuable papers and records";

to the extent it reduces the amount
of loss that otherwise would have
been payable under this Additional
Coverage or Additional Coverage f.
Business Income.

(3) With respect to the coverage provided in
this Additional Coverage, suspension
means:

(a) The partial slowdown or complete
cessation of your business activities;
or

(b) That a part or all of the described
premises is rendered untenantable, if
coverage for Business’ Income
applies.

(4) We will only pay for Extra Expense that
occurs within 12 consecutive months
after the date of direct physical loss or
damage. This Additional Coverage is
not subject to the Limits of Insurance of
Section I — Property.

h. Pollutant Clean-up And Removal

We will pay your expense to extract
"pollutants" from land or water at the
described premises if the discharge,
dispersal, seepage, migration, release or
escape of the "pollutants" is caused by or
results from a Covered Cause of Loss that
occurs during the policy period. The
expenses will be paid only if they are
reported to us in writing within 180 days of
the date on which the Covered Cause of
Loss occurs.

This Additional Coverage does not apply to
costs to test for, monitor or assess the
existence, concentration or effects of
"pollutants". But we will pay for testing
which is performed in the course of
extracting the "pollutants" from the land or
water.

The most we will pay for each location
under this Additional Coverage is $10,000
for the sum of all such expenses arising out
of Covered Causes of Loss occurring
during each separate 12-month period of
this policy.

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The ordinance or law referred to in
Paragraph (2) of this Additional
Coverage is an ordinance or law that
regulates the construction or repair of
buildings or establishes zoning or land
use requirements at the described
premises and is in force at the time of
loss.

Under this Additional Coverage, we will
not pay any costs due to an ordinance
or law that:

(a) You were required to comply with
before the loss, even when the
building was undamaged; and

(b) You failed to comply with.

Under this Additional Coverage, we will
not pay for:

(a) The enforcement of or compliance
with any ordinance or law which
requires demolition, repair,
replacement, reconstruction,
remodeling or remediation of
property due to contamination by
"pollutants" or due to the presence,
growth, proliferation, spread or any
activity of "fungi", wet rot or dry rot;
or

(b) Any costs associated with the
enforcement of or compliance with
an ordinance or law which requires
any insured or others to test for,
monitor, clean up, remove, contain,
treat, detoxify or neutralize, or in any
way respond to, or assess the
effects of "pollutants", "fungi", wet rot
or dry rot.

The most we will pay under this
Additional Coverage, for each described
building insured under Section | —-
Property, is $10,000. If a damaged
building(s) is covered under a blanket
Limit of Insurance which applies to more
than one building or item of property,
then the most we will pay under this
Additional Coverage, for each damaged
building, is $10,000.

The amount payable under this
Additional Coverage is _ additional
insurance.

(7) With respect to this Additional
Coverage:

(a) We will not pay for the Increased
Cost of Construction:

(i) Until the property is actually
repaired or replaced, at the same
or another premises; and

(ii) Unless the repair or replacement
is made as soon as reasonably
possible after the loss or
damage, not to exceed two
years. We may extend this period
in writing during the two years.

(b) If the building is repaired or replaced
at the same premises, or if you elect
to rebuild at another premises, the
most we will pay for the Increased
Cost of Construction is the increased
cost of construction at the same
premises.

(c) If the ordinance or law requires
relocation to another premises, the
most we will pay for the Increased
Cost of Construction is the increased
cost of construction at the new
premises.

(8) This Additional Coverage is not subject
to the terms of the Ordinance Or Law
Exclusion, to the extent that such
exclusion would conflict with the
provisions of this Additional Coverage.

(9) The costs addressed in the Loss
Payment Property Loss Condition in
Section | — Property do not include the
increased cost attributable to
enforcement of or compliance with an
ordinance or law. The amount payable
under this Additional Coverage, as
stated in Paragraph (6) of this Additional
Coverage, is not subject to such
limitation.

m. Business Income From Dependent
Properties

(1) We will pay for the actual loss of
Business Income you sustain due to
physical loss or damage at the premises
of a dependent property or secondary
dependent property caused by or
resulting from any Covered Cause of
Loss.

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(8) The definition of Business Income

contained in the Business Income
Additional Coverage also applies to this
Business Income From Dependent
Properties Additional Coverage.

n. Glass Expenses
(1) We will pay for expenses incurred to put

up temporary plates or board up
openings if repair or replacement of
damaged glass is delayed.

(2) We will pay for expenses incurred to

remove or replace obstructions when
repairing or replacing glass that is part
of a building. This does not include
removing or replacing window displays.

o. Fire Extinguisher Systems Recharge
Expense

(1) We will pay:

(a) The cost of recharging or replacing,
whichever is less, your fire
extinguishers and fire extinguishing
systems (including hydrostatic
testing if needed) if they are
discharged on or within 100 feet of
the described premises; and

(b) For loss or damage to Covered
Property if such loss or damage is
the result of an accidental discharge
of chemicals from a fire extinguisher
or a fire extinguishing system.

(2) No coverage will apply if the fire

extinguishing system is_ discharged
during installation or testing.

(3) The most we will pay under this

Additional Coverage is $5,000 in any
one occurrence.

p. Electronic Data
(1) Subject to the provisions of this

Additional Coverage, we will pay for the
cost to replace or restore "electronic
data" which has been destroyed or
corrupted by a Covered Cause of Loss.
To the extent that "electronic data" is not
replaced or restored, the loss will be
valued at the cost of replacement of the
media on which the "electronic data”
was stored, with blank media of
substantially identical type.

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The Covered Causes of Loss applicable
to Business Personal Property include a
computer virus, harmful code or similar
instruction introduced into or enacted on
a computer system (including "electronic
data") or a network to which it is
connected, designed to damage or
destroy any part of the system or disrupt
its normal operation. But there is no
coverage for loss or damage caused by
or resulting from manipulation of a
computer system (including "electronic
data") by any employee, including a
temporary or leased employee, or by an
entity retained by you, or for you, to
inspect, design, install, modify, maintain,
repair or replace that system.

The most we will pay under this
Additional Coverage — Electronic Data
for all loss or damage sustained in any
one policy year, regardless of the
number of occurrences of loss or
damage or the number of premises,
locations or computer systems involved,
is $10,000, unless a higher Limit Of
Insurance is shown in the Declarations.
If loss payment on the first occurrence
does not exhaust this amount, then the
balance is available for subsequent loss
or damage sustained in, but not after,
that policy year. With respect to an
occurrence which begins in one policy
year and continues or results in
additional loss or damage in a
subsequent policy year(s), all loss or
damage is deemed to be sustained in
the policy year in which the occurrence
began.

This Additional Coverage does not apply
to your "stock" of prepackaged software,
or to “electronic data" which is
integrated in and operates or controls a
building's elevator, lighting, heating,
ventilation, air conditioning or security
system.

q. Interruption Of Computer Operations

Subject to all provisions of this
Additional Coverage, you may extend
the insurance that applies to Business
Income and Extra Expense to apply to a
suspension of "operations" caused by
an interruption in computer operations
due to destruction or corruption of
"electronic data" due to a Covered
Cause of Loss.

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Coverage for Extra Expense does not
apply when action is taken to avoid or
minimize a suspension of "operations"
caused by destruction or corruption of
“electronic data", or any loss or damage
to "electronic data", except as provided
under Paragraphs (1) through (4) of this
Additional Coverage.

This Additional Coverage does not apply
when loss or damage to "electronic
data" involves only "electronic data”
which is integrated in and operates or
controls a building's elevator, lighting,
heating, ventilation, air conditioning or
security system.

r. Limited Coverage For "Fungi", Wet Rot
Or Dry Rot

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The coverage described in Paragraphs
r.(2) and r.(6) only applies when the
"fungi", wet rot or dry rot is the result of
a "specified cause of loss" other than
fire or lightning that occurs during the
policy period and only if all reasonable
means were used to save and preserve
the property from further damage at the
time of and after that occurrence.

This Additional Coverage does not apply
to lawns, trees, shrubs or plants which
are part of a vegetated roof.

We will pay for loss or damage by
"fungi", wet rot or dry rot. As used in this
Limited Coverage, the term loss or
damage means:

(a) Direct physical loss or damage to
Covered Property caused by "fungi",
wet rot or dry rot, including the cost
of removal of the "fungi", wet rot or
dry rot;

(b) The cost to tear out and replace any
part of the building or other property
as needed to gain access to the
"fungi", wet rot or dry rot; and

(c) The cost of testing performed after
removal, repair, replacement or
restoration of the damaged property
is completed, provided there is a
reason to believe that "fungi", wet rot
or dry rot is present.

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The coverage described under this
Limited Coverage is limited to $15,000.
Regardless of the number of claims, this
limit is the most we will pay for the total
of all loss or damage arising out of all
occurrences of "specified causes of
loss" (other than fire or lightning) which
take place in a 12-month period (starting
with the beginning of the present annual
policy period). With respect to a
particular occurrence of loss which
results in "fungi", wet rot or dry rot, we
will not pay more than the total of
$15,000 even if the "fungi", wet rot or
dry rot continues to be present or active,
or recurs, in a later policy period.

The coverage provided under this
Limited Coverage does not increase the
applicable Limit of Insurance on any
Covered Property. If a particular
occurrence results in loss or damage by
"fungi", wet rot or dry rot, and other loss
or damage, we will not pay more, for the
total of all loss or damage, than the
applicable Limit of Insurance on the
affected Covered Property.

If there is covered loss or damage to
Covered Property, not caused by
"fungi", wet rot or dry rot, loss payment
will not be limited by the terms of this
Limited Coverage, except to the extent
that "fungi", wet rot or dry rot causes an
increase in the loss. Any such increase
in the loss will be subject to the terms of
this Limited Coverage.

The terms of this Limited Coverage do
not increase or reduce the coverage
provided under the Water Damage,
Other Liquids, Powder Or Molten
Material Damage or Collapse Additional
Coverages.

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